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                                 UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             UNITED STATES OF AMERICA         :
                                              :     CRIMINAL ACTION
                       v.                     :
                                              :     NO. 1:10-cr-86-1-RWS-ECS
             MIGUEL ALVARADO-LINARES          :
             also known as                    :
             Joker                            :

                                   REPORT AND RECOMMENDATION
                               OF UNITED STATES MAGISTRATE JUDGE

                  The above-captioned matter is before the Court on two motions

             to suppress: Defendant’s motion to suppress statements and fruits

             thereof, [Doc. 388], and Defendant’s motion to suppress statements

             and/or evidence obtained as a result of an unconstitutional arrest

             [Doc. 562]. The motions to suppress were heard in three evidentiary

             hearings: on May 19, 2011, June 23, 2011, and October 14, 2011.        All

             hearings have been transcribed. [Doc. 570], [Doc. 567], [Doc. 614].

             The motions have been briefed by the parties and are now ready for

             a Report and Recommendation.

                  To summarize the issues, Defendant’s first motion to suppress

             seeks to prohibit the use of a statement given by Defendant on

             January 24, 2009, after he was arrested, and allegedly without

             probable cause and without the administration of Miranda warnings.

             The first two hearings related to the circumstances of Defendant’s

             arrest and to the statement he made thereafter at the Gwinnett

             County Police Department.       At the conclusion of the first two




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             hearings,      Defendant    was   permitted     to   file    a   second    motion    to

             suppress statements based upon the contention that the arrest

             warrant lacked probable cause to such an extent that no reasonable

             officer could have relied upon it in making the arrest.                   [Doc. 559].

             The   third    hearing     supplemented       the   record   with    regard   to    the

             circumstances of the issuance of the arrest warrant and Defendant’s

             challenge to it.

                     In Defendant’s post-hearing brief, Defendant argues that the

             affidavit in support of the warrant fails to establish probable

             cause    and   violates     Franks   v.   Delaware,      438     U.S.   154   (1978).

             Defendant further argues that the good faith exception to the

             exclusionary rule does not apply in these circumstances.                   Defendant

             fails, however, to make any argument in his post-hearing brief to

             the effect that the statement sought to be excluded was involuntary

             or obtained without the benefit of a waiver of rights under Miranda.

             This ground for suppression is therefore abandoned.                  Furthermore, a

             review of the evidentiary record shows that Defendant was read his

             Miranda rights and waived them, and that the statement he made was

             voluntary. Accordingly, the sole argument made for exclusion of the

             statement      is   that     it   was     obtained      as     the   fruit    of    an

             unconstitutional arrest under an invalid arrest warrant.                      [Def’s

             Brief at 11].



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                                                 I.
                                          Background Facts

                  The   following   is   a   summary   of   the    facts    adduced   at    the

             evidentiary hearings. On January 24, 2004, Sergeant Victor Pesaresi

             obtained an arrest warrant for Defendant from Gwinnett County

             Magistrate Court Judge Wendell L. Peevy for the murder of Lal Ko

             allegedly committed by Defendant on October 27, 2006.             See Gov. Ex.

             1; (T. 5/19/11 at 10).      The arrest warrant was given to Lieutenant

             C.D. Spell of the Gwinnett County Police Department to effectuate

             the arrest. (T. 6/23/11 at 9).        Lieutenant Spell was also provided

             with the address of a house on Mary Joe Lane in Norcross. The

             officers went to that location and set up surveillance on the

             evening of January 24, 2009.        (Id.).     Soon after the surveillance

             was in place, a car pulled up and a male got out of the car who did

             not fit Defendant’s description.       (Id. at 10).     Then two other males

             came out of the house and got in the car – the second male fit

             Defendant’s description. (Id.). The officers had been provided with

             information that Defendant was dangerous so they allowed him to

             drive away from the house before they conducted a high-risk stop.

             (Id. at 11).

                  Defendant was a passenger in the car.           (Id.)    Confronted by the

             officers, Defendant was cooperative and was placed under arrest

             without mishap.   (T. 12).      He was not Mirandized at that time.           (Id.


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             at 13).    After he was arrested, he was taken to the Gwinnett County

             Police Department in Lawrenceville. (Id.). There he was booked and

             then interrogated by Sgt. Pesaresi, along with Agent Jason Tyler

             with Immigration and Customs Enforcement (“ICE”).        (Id. at 4).   The

             interview was recorded on a DVD.     (T. 5/19/11 at 15, 18).     Defendant

             was read his Miranda rights from a Miranda rights form and agreed to

             speak.     (Id. at 15-16).   Defendant was not threatened nor was he

             made any promises in return for his statement.           (Id. at 17-18).

             There is no evidence his statement was involuntary.

                    The circumstances of the issuance of the warrant were the

             subject of the third evidentiary hearing, held on October 14, 2011.

             Sergeant Pesaresi testified again.       He testified that he was the

             affiant on the warrant and that he appeared in person before Judge

             Peevy.    (T. 10/14/12 at 15).    He provided the judge with a written

             affidavit and with other information orally under oath. (Id. at 16-

             17).      He testified that he was provided information about the

             killing by an informant and that he advised the Judge about this

             information.    (Id. at 17, 20-21, 26).     Defendant was identified by

             the informant from a picture.      (Id. at 20-21).    The informant told

             Sergeant Pesaresi that he, the informant, was in the car and that

             Defendant was the shooter.       (Id. at 26-27, 31-32).     The informant

             also provided information that Defendant was involved in an accident

             near the scene of the shooting, shortly after leaving the scene.

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             (Id. at 18-19).           The officer was able to corroborate that the

             accident occurred near the time of the shooting by interviewing the

             other party to the accident.            (Id. at 19, 34).        Pesaresi testified

             that he provided all this information to the judge.                    (Id. at 20-21,

             24-25).

                                                       II.
                                                   Discussion

             A.    Defendant’s Arguments

                    Defendant argues that the written portion of the written

             affidavit in support of the arrest warrant is insufficient to

             establish probable cause and that the sworn testimony provided by

             the officer to the magistrate judge was also deficient.                      In that

             regard, Defendant contends that the information obtained by the

             officer      from   the   informant    cannot    be    relied   upon     because   the

             informant gave inconsistent accounts of Defendant’s role in the

             shooting.      Defendant bases this contention upon the fact that the

             affiant, Sergeant Pesaresi, provided the magistrate judge with

             inconsistent accounts, stating in the affidavit that Defendant

             ordered the shooting and in his sworn oral testimony that Defendant

             was    the     shooter.      Defendant        argues   that     this    inconsistent

             information in the affidavit undermines the informant’s veracity.

             [Def’s Brief at 7].        In addition, Defendant argues that the affiant

             failed    to    disclose    to   the    magistrate      judge    certain    material


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             information – that the informant initially denied involvement in the

             shooting before later admitting being present.                  Def’s Brief at 8.

             Defendant argues that these infirmities render the information

             provided to the magistrate judge “so lacking in indicia of probable

             cause    as   to   render   official    belief      in   its   existence   entirely

             unreasonable,”      thus    making     the   good    faith     exception    to   the

             exclusionary rule inapplicable.          Def’s Brief at 10.

             B.   Probable Cause

                   Under the Fourth Amendment, “no Warrants shall issue, but upon

             probable cause . . . .” U.S. CONST. AMEND. IV.                 “Probable cause to

             arrest    exists    when    law   enforcement       officials    have    facts   and

             circumstances      within    their   knowledge       sufficient     to   warrant   a

             reasonable belief that the suspect had committed or was committing

             a crime.”     United States v. Gonzalez, 969 F.2d 999, 1002 (11th Cir.

             1992) (citing Beck v. Ohio, 379 U.S. 89, 91 (1964)).                       See also

             United States v. Goddard, 312 F.3d 1360, 1363 (11th Cir. 2002).

             Probable cause is a “fluid concept - turning on the assessment of

             probabilities in particular factual contexts - not readily, or even

             usefully, reduced to a neat set of legal rules.”                Illinois v. Gates,

             462 U.S. 213, 232, 103 S.Ct. 2317, 2329 (1983).                     In making the

             probable cause determination, the judge must make a practical,

             common sense decision whether, given all the circumstances set forth



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             in the affidavit before him, including the ‘veracity’ and ‘basis of

             knowledge’ of persons supplying hearsay information, that there are

             facts sufficient to support the issuance of the warrant.           Illinois

             v. Gates, 462 U.S. at 238; United States v. Brundidge, 170 F.3d

             1350, 1352 (11th Cir. 1999) (citing United States v. Gonzalez, 940

             F.2d 1413, 1419 (11th Cir. 1991), cert. denied, 502 U.S. 1047

             (1992)).

                  In this case, the affidavit relied in part upon information

             obtained from a confidential informant.         The informant’s veracity

             and basis of knowledge are “relevant considerations in the totality

             of the circumstances analysis,” and “a deficiency in one may be

             compensated for . . . by a strong showing as to the other.”

             Brundidge, 170 F.3d at 1353 (internal citations and quotations

             omitted).     “An   explicit   and   detailed   description   of   alleged

             wrongdoing, along with a statement that the event was observed

             firsthand, entitles [the CI's] tip to greater weight than might

             otherwise be the case.”        Id. (internal citations and quotations

             omitted).   “[W]hen there is sufficient independent corroboration of

             an informant’s information, there is no need to establish the

             veracity of the informant.” United States v. Martin, 297 F.3d 1308,

             1314 (11th Cir. 2002) (internal citation and quotation omitted).

             “[C]orroboration of [an informant]’s tip can also occur by ‘creating

             circumstances under which [the informant] is unlikely to lie.’”

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             Brundidge, 170 F.3d at 1353 n.1 (quoting United States v. Foree, 43

             F.3d 1572, 1576 (11th Cir. 1995)).

             C.   Franks v. Delaware and United States v. Leon

                   The Fourth Amendment exclusionary rule will not be applied so

             as to bar the use of evidence obtained by officers acting in

             reasonable reliance on a warrant issued by a detached, neutral

             magistrate but ultimately found to be unsupported by probable cause.

             United States v. Leon, 468 U.S. 897, 898 (1984). To advance the

             purposes of the exclusionary rule to deter police misconduct,

             evidence obtained as fruit of an illegal arrest should be suppressed

             only if it can be said that the law enforcement officer had

             knowledge, or may be properly charged with knowledge, that the

             arrest was unconstitutional.          Id. at 919.    In other words, the

             evidence should not be suppressed when the officer’s conduct is

             objectively reasonable.      This is particularly true when an officer

             acting with objective good faith has obtained a warrant from a judge

             or magistrate and acted within its scope.

                   In the ordinary case, an officer cannot be expected to question

             a magistrate’s probable cause determination or his judgment that the

             form of the warrant is technically sufficient.            “Penalizing the

             officer for the magistrate’s error, rather than his own, cannot

             logically   contribute    to    the    deterrence   of   Fourth   Amendment

             violations.”   Id. at 921.     Nonetheless, a police officer’s reliance

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             upon    the    magistrate’s       probable       cause    determination      must    be

             objectively reasonable, and it is clear that in some circumstances

             the officer will have no reasonable grounds for believing that the

             warrant was properly issued.           Id. at 922-23.              Therefore, a good

             faith inquiry is in order, and this “good-faith inquiry is confined

             to the objectively ascertainable question whether a reasonably well

             trained officer would have known that the [arrest] was illegal

             despite the magistrate’s authorization.”                       Id. at 923 n.23.       In

             making this determination, all the circumstances may be considered.

             Id.

                    What this means is that an arrest under a warrant may be

             invalid even though a facially valid warrant was issued.                          Under

             Leon, suppression remains an appropriate remedy in at least four

             identifiable     circumstances:       (1)       where    the    magistrate   judge    in

             issuing the warrant was misled by information in an affidavit that

             the affiant knew was false or would have known was false except for

             his reckless disregard for the truth.               Id. at 923 (citing Franks v.

             Delaware, 438 U.S. 154 (1978)); (2) where the issuing magistrate

             wholly abandons his judicial role; (3) where the warrant was based

             on an affidavit so lacking in indicia of probable cause as to render

             official      belief   in   its    existence       entirely       unreasonable;      and

             (4) where the warrant is so facially deficient that the executing



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             officers cannot reasonably presume it to be valid.         Leon, 468 U.S.

             at 923.

                   In Franks v. Delaware, 438 U.S. 154 (1978), the Supreme Court

             addressed the issue of whether a defendant has the right under the

             Fourth and Fourteenth Amendments to challenge the truthfulness of

             factual statements made in an affidavit in support of a search

             warrant. The Court held that where the defendant makes a substantial

             preliminary showing that an affiant knowingly and intentionally

             included a false statement in an affidavit, or made the false

             statement with reckless disregard for its truth, and the false

             statement was necessary to a finding of probable cause, then the

             Fourth Amendment requires that a hearing be held at the defendant’s

             request.     Franks, 438 U.S. at 164-65, 171-72. Where perjury or

             reckless disregard is established at the hearing, and where the

             affidavit’s remaining content is insufficient to support a finding

             of probable cause after the affidavit’s false material is set to one

             side, then the warrant must be voided and its fruits excluded.          Id.

             at 171-72.   Negligent or innocent mistakes, however, do not violate

             the Fourth Amendment.     Id. at 171.

             D.   Validity of the Arrest Warrant

                   Applying the legal principles above, the undersigned concludes

             that the written affidavit language standing alone does not set

             forth sufficient facts to establish probable cause.        The magistrate

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             judge,   however,   was   also   provided   with     additional   sworn   oral

             testimony.    In his sworn testimony, Sergeant Pesaresi advised the

             magistrate judge that there was an ongoing investigation of gang

             activity and that an informant had provided him with firsthand

             knowledge of what occurred in the shooting based upon his having

             been in the car when the crime occurred.           (T. 10/14/11 at 20, 28,

             31-32). Sergeant Pesaresi also advised the magistrate judge that he

             believed the informant to be reliable, (id. at 32), and that he had

             corroborated some of the informant’s information.           (Id. at 20).      In

             particular, Sergeant Pesaresi corroborated that, as stated by the

             informant, Defendant had been involved in an auto accident shortly

             after the shooting near the scene and had fabricated an accident

             report to cover up the fact that he was there.          (Id. at 17-18).      The

             informant was also able to identify Defendant as the person involved

             in the shooting as the shooter and to pick his picture out of a

             group of pictures.    (Id. at 21, 26-27, 28, 31-32).        This information

             was imparted to the magistrate judge.           (Id. at 26, 27-28, 32).

             Considering   all   of    this   information,   in    its   totality,   it    is

             sufficient in my view to support a finding of probable cause to

             believe that Defendant was present at the shooting and either

             directed the shooting or shot the victim himself.

                  Sergeant Pesaresi did not advise the magistrate judge that the

             informant initially denied being involved in the shooting, (T.

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             10/14/11 at 33), but he did advise the judge that the informant was

             actually in the car with Defendant.                  (Id. at 31-32).       Defendant

             argues that this omission vitiates probable cause. To the contrary,

             however, the record does not clearly reflect that the informant

             initially denied being involved.            (Id. at 33).     But even if he did,

             the magistrate was advised that the informant admitted being in the

             car with the shooter.         (Id. at 31-32).         Thus, even if the officer

             had disclosed this information, it would have made no difference to

             the existence of probable cause.            It would not be unexpected for an

             informant to minimize or deny his own culpability while nonetheless

             otherwise telling the truth about what happened.                  But in this case,

             the informant admitted his own involvement, contrary to his own

             penal interest, an admission which “carr[ies] [its] own indicia of

             credibility - sufficient at least to support a finding of probable

             cause . . . .” United States v. Harris, 403 U.S. 573, 583, 91 S. Ct.

             2075, 2082 (1971); accord United States v. Farese, 612 F.2d 1376,

             1378 (5th Cir. 1980).

                   Finally, Defendant argues that the informant allegedly provided

             the   officer     with    inconsistent      information    that     undermines    the

             veracity and/or reliability of the informant.                     This argument is

             based upon the fact that the written affidavit identifies Defendant

             as    “ordering    the     shooting    of     [the    victim],”    while    Sergeant

             Pesaresi’s      oral     testimony    advised    the    magistrate     judge     that

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             Defendant was the shooter. This inconsistency, however, arises from

             the information provided by the sergeant to the magistrate judge and

             does not undermine the credibility of the informant.               Indeed,

             Sergeant Pesaresi testified that the informant admitted he was in

             the car and, further, testified that Defendant was the shooter: “He

             was certainly there.       To the best of my knowledge, he was the

             shooter.” (T. 10-14-11 at 27).        Either way, there was sufficient

             cause set forth to believe that Defendant participated in the

             murder, warranting his arrest.      Both options were disclosed to the

             magistrate judge before he signed the warrant – Defendant as shooter

             (oral) and Defendant as “ordering the shooting” (written).

                  Having found that the evidence presented to the magistrate

             judge was sufficient to establish probable cause to arrest Defendant

             for murder, it is not necessary to examine whether the warrant could

             also be upheld under the Leon good faith exception. But in any

             event, on this record, suffice it to say that Sergeant Pesaresi had

             no reason to believe that he could not rely upon the arrest warrant,

             based as it was upon the facts known to the sergeant and conveyed to

             the magistrate judge when he obtained the warrant.




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                                                III.
                                             Conclusion

                  In sum, the undersigned RECOMMENDS that Defendant’s motions to

             suppress [Docs. 388, 562], be DENIED.

                  It appearing that there are no further pretrial or discovery

             matters to bring before the undersigned, it is therefore ORDERED

             that this CASE be and is hereby CERTIFIED as ready for trial.



             SO REPORTED AND RECOMMENDED, this 18th day of June, 2012.



                                                        s/ E. Clayton Scofield
                                                      E. CLAYTON SCOFIELD III
                                                      UNITED STATES MAGISTRATE JUDGE




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